Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 1of 54

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

A. CIVIL No. aCe (VE )

Judge:

U.S. Senator Adam Schiff, Dmt MacTruong,

Jack Smith, U.S. Senator Elizabeth Warren,

Alvin L. Bragg Jr., U.S. Senator Cory Booker,

U.S. Senator Rand Paul, U.S. Rep Alex.

Ocasio-Cortez, U.S. Senator Bernie Sanders,
Plaintiffs,

FEB 03 2025

PRO SE OFFICE

- against -

Trial by Jury Demanded

President Donald J. Trump, and Vice
President JD Vance,
Defendants.

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PLAINTIFFS’ COMPLAINT

SEEKING JUDGMENT(S) DECLARING DEFENDANTS’ EGREGIOUS
ABUSE OF POWER, COMMISSION OF HIGH CRIMES, MISDEMEANORS,
TREASON, AND INSURRECTION TO TAKE OR KEEP EXECUTIVE POWER BY
MISREPRESENTATIONS OF FACT OR VIOLENCE, AND RECOMMENDING
THAT CONGRESS INVESTIGATE, TRY, IMPEACH AND REMOVE
DEFENDANTS FROM THE PRESIDENCY & VICE PRESIDENCY

PRELIMINARY STATEMENTS

Dmt MacTruong, also known as Dr. Mac Truong, Plaintiff pro se, and other individuals
of similar situation and standing, affirms and certifies as follows:

1. In a nutshell, the Plaintiffs herein are all fervent patriotic U.S. citizens. Many of us have
been formally sworn in to defend and protect the U.S. Constitution that has been adopted
by WE THE PEOPLE at the cost of our lives and/or fortunes if required by law, above which
nobody is. As such, we believe in all rational good faith that the laws of this free, democratic
and republican country, called the United States of America may not be made and/or
enforced by a group of legally uneducated, irresponsible, and arrogant politicians, elected

or appointed government officials. Plaintiffs also strongly believe that America is a nation
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 2 of 54

of law and that nobody, including God, if this entity does exist, or egomaniac human beings
like President Donald J. Trump, [See, SIDENOTE 1], are above the law.

2. [SIDENOTE 1: Plaintiff MacTruong herein voted twice for Defendant Donald J. Trump
to become the 45" President of the U.S.A. | helped him twice from being impeached. Once,
| wrote to him an email telling him in substance to shut up on the scandalous issue of
whether he had used campaign funds to pay Stormy Daniels. He did listen but his lawyer
Giuliani did not and continued. | wrote another email to Giuliani telling him to shut up also.
He finally did and as we all know, the scandal was forgotten. The second impeachment
attempt by Congress was abandoned mainly because of my known winning logical
argument that was listened to by all Republicans and many Democrats that it makes no
sense as a matter of law to try to impeach, i.e., stop a former President, hence a regular
citizen, from continuing to be President, even though we can certainly investigate and/or
prosecute him for such criminal misconduct as the Jan. 6 Insurrection. | know | have great
influence on Defendant Trump’s mind because for years | texted and/or emailed with him,
his family, and his group daily several times a day, and | have friends who are part of the
media in Congress informing me of the impact of my email messages.

3. The latest undisputed evidence showing Plaintiff's dominant influence on Trump's
vision is my idea of not only making America great again but also the entire world one
peaceful united planet with all humanity advancing to the next level of civilization,
commencing, for instance, with an equal and friendly partnership with Canada as the 51°
State, Mexico the 52", Denmark and Greenland, the 53rd, United Kingdom the 54", France
the 55", Panama and Central America, the 56", and so on, but not rigidly in that order. Only
on Sunday 2/2/2025, after having received my December 2024 letters, Defendant Trump
revises his arrogant and hostile idea of tariffing Canada to compel it to submit to his MAGA
policy. He now adopts instead my suggested friendly invite to Canada to become the 51"
State of the USA, a plan that is not vexatious at all but advantageous to both countries in
short and long terms, and that would depend on the free will of both nations to peacefully
make it a wonderful reality in just a few years to come. [See, EXHIBIT A — Attached - for

Plaintiff's December 2024 Letters to Pres. Elect Trump and some concerned U.S.

Senators.]
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 3 of 54

4. Plaintiffs herein further believe in Absolute Relativity, the ultimate supreme principle of
the changing universe, meaning in simplistic not quite correct language that nothing is
absolute, everything is relative. However, for all theoretical and practical purposes, the
bottom line or highest spirit of the U.S. Constitution requires that all competent and patriotic
U.S. citizens actively participate in the good functioning of our government and have our
most sacred rights and duties to defend our people and land by exercising our “citizen
prosecution” power that is identical to the concept of “citizen arrest.” Indeed, “citizen
prosecution” is legal and should be allowed by competent courts of law so long as the
prosecution of the criminals or law violators is carried out in court by legally educated U.S.
citizens, knowing the U.S. Constitution and/or federal law relatively better than those official
prosecutors, who are incompetent or biased or overworked to perform their formal duties.
The true American spirit is, WWE THE PEOPLE do our utmost best to accomplish our duties
and exercise our rights, then also do our best to help our fellow citizens do theirs. We do
not just do our jobs when we are forced to work like slaves, nor shall we only produce
expecting a good salary. [See, SIDENOTE 2]

5. [SIDENOTE 2: It is undisputed that the Police cannot be everywhere, and a well-
meaning citizen can be an asset to protect other citizens from crimes. It is settled law in
modern America that “citizen arrest” is legal and welcomed, even though it’s limited and
must not be abused. On one hand, there is a good reason for keeping a citizen arrest law
on the books. On the other hand, people crossing the line from good Samaritan to TV Cop
should be held accountable. Whenever a citizen wants to control another person physically,
that citizen must think of the consequences first. Is the action justified, or is it easier to call
the police? The first action in any of these circumstances must be to call law enforcement.
“Citizen prosecution” is one by legally competent patriotic private citizens assisting public

law enforcement by paid professionals, who may be overworked or incompetent to handle

literally millions of ultra-diverse and unexpected issues of modern America. There is no risk

of abuse by Citizen Prosecution because it is controlled all steps of the way by the Courts.]

6. Plaintiffs herein also have evidence admissible in a court of law that individually and/or
collectively, Defendants herein have abused the respective positions they currently occupy

in the executive branch of our government by intentionally making material

3
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 4of 54

misrepresentations of fact or legal conclusions, to hold themselves and/or their specific
groups as being actually and wrongfully above the law.

7. Plaintiffs herein further believe that not only this Court has the necessary jurisdiction
and power but also the constitutional and legal duty to adjudicate the instant complaint in
favor of Plaintiffs, i.e. finding and/or declaring and/or recommending to proper authorities
such as the U.S. House of Representatives and U.S. Senate, to further investigate
Defendants’ violation of Plaintiffs’ Constitutional Rights to be governed by a truly liberal

democratic and republican government of, by, and for the people.

8. Plaintiffs herein further believe that the abovementioned constitutional inherent rights
include the right and freedom to think, speak, and act as long as our thoughts, words, and
acts are reliable, productive, and respectable. [See, SIDENOTE 3]

9. [SIDENOTE 3: The main work ethics or morality of Plaintiffs that is 100% in tune
with the spirit of the U.S. Constitution are the same as those of ideal world citizens:
RPR in AR. First “R” = Reliability (meaning, keeping one’s word, no lie, no fraud, no
cheating) - “P” = Productivity (meaning, creating useful products and services) -
Second “R” = Respectability (meaning, respecting Life, Property, and Freedom) “in
AR” = “in Absolute Relativity” (meaning, in Liberty, Good Faith, Reasonability,

Balance, and Creativity)

10. The ultimate general policy or outlook or philosophy for Plaintiffs to live our lives
in this world within and/or without ourselves that is 100% in conformance with the
spirit of the U.S. Constitution is the same as those of ideal world citizens: Being
Strong and Kind. Being STRONG means being capable of causing others to respect
our right to RPR in AR. Being KIND means being capable of disciplining ourselves to
treat others with RPR in AR.]

11. Plaintiffs herein further believe that the abovementioned constitutional basic natural
rights undisputedly include the right and freedom of choice to enjoy sex in all discretion and
privacy and/or to selectively reproduce to ensure the survival of the human race. Our most
basic constitutional rights undisputedly include the one to absolutely own and control our
lives and bodies to pursue happiness. These rights are overtly guaranteed by the U.S.
Constitution to all as being reasonably and rightly upheld in 1973 by SCOTUS in Roe v Wade.
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page5of 54

12. Plaintiffs herein further exercise our constitutional rights under the First and all other
appropriate Amendments to respectfully move this noble Court, which has been created by
the Constitution and appropriate U.S, federal laws, to grant relief to all or any part of our
causes of action in the instant complaint that the Court may determine to be meritorious or
necessary to preserve the American Liberty Republic and Democracy.

13. In anutshell, by this document, written under the penalty of perjury, Plaintiffs herein
complain to this noble Court that Defendants herein are members of a radical Christian
white supremacist conservative group who are quietly or overtly racist toward black or
colored Americans, or more particularly non-American or non-Jewish. Above all they are
misogynists. They do love and cherish women passionately, or actually more than allowed
by law, in their own way, like sex objects or home keepers, but certainly, they do not trust
that women are equal to men or capable of making the “right” decision when facing
important issues like abortion.

14. Plaintiffs have undisputed evidence showing that directly or indirectly Defendants
herein have acted in concert with one another and under the lead of Defendant convicted
felon Donald J. Trump to achieve their alleged MAGA (Make America Great Again) goal, in
egregious violation of 18 U.S.C. § 371, which creates an offense in the event "two or more
persons conspire either to commit any offense against the United States or to defraud the
United States, or any agency thereof in any manner or for any purpose,” and/or numerous
other applicable provisions of the U.S. Criminal Code.

15. Upon information and belief, MAGA movement tries to restore some of the American
pre-Civil War moral values that would subtly or overtly keep black Americans and women
in an inferior status. They are trying to re-establish partial slavery, destroy the most basic
principles of the U.S. liberty, democracy, republic, balanced division of the three main
branches of the government: Legislative, executive, and Judiciary. They try to establish an
autocracy, or dictatorship, in the hands of Defendant Donald J. Trump, a legally uneducated
businessman, who has a passionate demagogic vision of putting alleged American short-
term interest first, while ignoring that the ultimate interest of a true liberal democratic and
republican country is not necessarily financial only for one individual or his group. It must

be in the long term the legitimate legal moral and philosophical interest of all the country.

5
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 6 of 54

16. In this civil action, this Court can and has ultimately its formal sworn-in duty
pursuant to Article Il, Section One, Clause 8, of the United States Constitution, and the 14%
Amendment, and existing federal laws to grant plaintiffs a formal finding declaring
defendants’ egregious abuse of power, commission of high crimes, misdemeanors,
treason, and insurrection to take or keep power by material misrepresentations of
fact or violence, so that the U.S. Congress could follow this Court’s lead to impeach
and remove Defendants herein from the presidency and vice presidency of the U.S.A.

17. This District Court has further the full constitutional and legal rights to re-declare Roe
v. Wade the law of the land while rejecting outright Dobbs v. Jackson ruling as an error
having been intentionally committed by 6 radical conservative SCOTUS justices due to
their prejudices and biases as members of a radical Judeo-Christian White Supremacist
political group better known as MAGA under the leadership of Defendant President Donald
J. Trump, who had been a convicted felon and a hardcore liar, by a jury in a valid New York
State court of law, prior to his latest November 2024 Presidential election.

18. This action is open for all U.S. citizens to join in, actively participate, and cooperate
with Plaintiff pro se Dmt MacTruong and all other Plaintiffs, whether their names are already
or later added in the caption. All the requirements are that the original of their signature(s)
be posted at the end of this Complaint and filed with the Court, and the true copies thereof

mailed to the Defendants with proof of service.

JURISDICTION AND VENUE

19. This is a civil action by U.S. citizen prosecutor Plaintiff Dmt MacTruong pro se and
other well-known plaintiffs seeking a leading declaratory judgment so that the U.S.
Congress could follow suite to lawfully impeach and remove the two Defendants herein
respectively from the presidency and vice presidency of the U.S.A. in accordance with the
procedures already designed by the U.S. Constitution and rules of procedure by Congress
in the four prior impeachment trials in American history. [See, EXHIBIT B for a summary
analysis of the four impeachment trials of three Presidents of the United States: (1) Andrew

Johnson, (2) Bill Clinton, and (3) Donald J. Trump.]
6
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 7 of 54

20. This U.S. District Court has subject-matter jurisdiction over this civil action because
the U.S. government is a defendant under 28 U.S.C. §1331, and/or criminal conspiracies
in violation of 18 U.S.C. § 371, which creates an offense in the event “two or more persons
conspire either to commit any offense against the United States or to defraud the United
States, or any agency thereof in any manner or for any purpose.” (Emphasis
added). See Project, Tenth Annual Survey of White Collar Crime, 32 Am. Crim. L. Rev. 137,
379-406 (1995) (generally discussing § 371).

21. This U.S. District Court has subject-matter jurisdiction over this civil action pursuant
to 28 U.S.C. §1331, which grants federal district courts original subject-matter jurisdiction
over "all civil actions arising under the Constitution, laws, or treaties of the United States"
including but not limited to 17 U.S. Code § 102 and/or 18 U.S.C. § 371, 10 U.S. Code § 921
- Art. 121; or any applicable provision of the U.S. Constitution and/or relevant controlling
federal legal authorities such as 18-0241 Conspiracy v. Citizen rights; 28-1331v Violation
of 18t, 4th 5th 3 gth Amendments; 28-1343 & 28-1981 & 28-1983 Violation of Civil Rights;
05-552a to Privacy Act; 18-0241 CoConspiracy v. Citizen rights; 28-1331v Violation of 5"
& 8!" Amendments; 28-1343 & 28-1981 & 28-1983 Violation of Civil Rights.

22. Venue is proper in this Court pursuant to 28 U.S.C. 1391(b) and (c) since all the
defendants herein are residing and/or doing business in the U.S. State of New York.

23. Additionally, most of the events, circumstances, and/or actions such as acting in
concert to commit any offense against the United States or to defraud the United States, or
any agency thereof in any manner or for any purpose.

24. Finally, upon information and belief none of the Defendants herein would object to
the venue of this Court, which is not inconvenient for them to attend, seeing that all court
filings or appearances will be made by submission of papers and/or virtual hearings to be

directed and scheduled by the Court.

THE PARTIES
(a)

7
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 8 of 54

THE PLAINTIFFS

25. Dmt MacTruong, also known as Dr. Mac Truong, Plaintiff pro se, is over 80 years of age. | ama
philosopher with my own original philosophy entitled Absolute Relativity (AR hereafter), meaning absolutely
everything, including truth, falsehood, existence, inexistence, life, death, the universe, absolute, relativity,
God, heaven, hell, good, evil, Aristotelian principle of non-contradiction, motion of non-null masses, matter,
antimatter, is relative. The distinctions of these terms have been made up artificially by human minds. As
such, AR is a contradiction in terms, which is however not absolutely but only relatively untrue. “Absolute
Relativity” is the title and sole topic of the 414-page thesis written in French for my 1972 Ph.D. degree in
Philosophy at the Faculty of Letters and Human Sciences, Paris-Sorbonne-Pantheon University, France,
commonly known as the Sorbonne, being located at the Sorbonne Street, Paris Se.

26. Sorbonne Professor of Philosophy Pierre Aubenque, who sponsored my doctoral thesis
admiringly said that Absolute Relativity is the ultimate goal of traditional Philosophy to discover
absolute truth on the zodiac from Socrates, Plato, and Aristotle, then to Descartes, Kant, and Hegel.
Finally, Mac Truong discovered it by logically exploding Aristotelian principle of non-contradiction,
that Aristotle contradictorily called principle of contradiction, as if this one could not exist or make
sense, and built it into an indisputable system of thought that no one can argue against to teach all
human mind, except the careless uneducated, how to think, speak and act rationally and
appropriately to start a new era, the Absolute Relativity Era, based on a new way of reasoning,
communicating, and acting together so that the educated part of humanity could progress in
freedom and creativity without violence or defrauding or betraying one another.

27. Plaintiff Mac Truong was born on May 1, 1944, in Bac Ninh near Hanoi, North Vietnam. In
1953, my parents flew me to Dalat, Center of Vietnam, to study. In 1954, | flew back to Hanoi. Then
because of the division between North and South Vietnam at that time, | permanently moved South
in 1955 to live with my large family as a young student in Saigon. In 1963, | flew to France to pursue
my college education. There, | passionately studied in the fields of my choice. In June 1968, |
obtained my bachelor's degree in law from the University of Montpellier in Southern France on the
shores of the Mediterranean. In October 1968, two bachelor’s degrees in Philosophy and
Psychology from the University of Montpellier. On June 6, 1969, | got a master's degree in
philosophy. October 1969 a master’s degree in psychology at the Sorbonne, Paris-Panthéon. On
December 12, 1970, | was awarded an LL.M. in Public Law. In July 1971, as hereinabove

mentioned, | completed my 414-page Doctor of Philosophy thesis entitled "La Relativité Absolue,"

8
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 9 of 54

in the University of Paris-Sorbonne-Panthéon. In June 1973, | obtained the highest and most
respected academic diploma in law in France, aka, the Juridical Science Doctorate (J.S.D.) in
International Public Law (Docteur d'Etat en Droit) with a 385-page thesis entitled “L'Ethique du Droit
International Public” at the Faculty of Law, Paris-Sorbonne-Panthéon University, France.

28. The most respected of his time French International Public Law professor Paul Reuter (1911-
4996), who graded my said doctoral thesis entitled “L'Ethique du Droit International Public,” commented
that he valued the immense diverse culture | had exhibited in my thesis and my inventive genius to put
them all together in one united coherent international legal system, which had never existed before, and to
be built by humankind’s greatest minds to lead all of us to the next level of interplanetary civilization. [See,
SIDENOTE 4]

29. [SIDENOTE 4: My foregoing 414-page Ph.D. thesis in Philosophy in French at the Sorbonne, and
383-page J.S.D. thesis in International Public Law in French will be emailed to any interested party free of
charge by email upon request to Dmt@Dmtmovies.com. Also, the remarkable life of European famous
philosophy Professor Pierre Aubenque, and that of world-famous International Public Law professor Paul
Reuter (1911-1990) are available online by just typing in their respective names for all to review and be
impressed by my correct choice of whom to learn from to get the best world-caliber education available
before going free and creative on my own.]

30. In 1980, Plaintiff Dmt MacTruong enrolled in an LL.M. International Public Law program, at the New
York University School of Law, Manhattan, New York, before successfully passing the Bar Exam of the
State of New York. | was swom in as an NYS attorney at law on February 17, 1982, in Brooklyn, New York.
Thereafter, | practiced law for more than 20 years in Manhattan, New York. | handled successfully more
than 20,000 lawsuits of all types and nature at all levels of the court system, both state and federal. | could
handle so many lawsuits because | must be among the first lawyers who had learned IBM programming
and used word processing to process my cases. In 1993, upon my request, more than 12 U.S. Senators
including Patrick Daniel Moynihan, Frank Lautenberg, and Joe R. Biden, Jr., recommended me to then-
President Bill Clinton to become an associate justice of the U.S. Supreme Court.

31. Despite Plaintiffs full-time legal practice, | have obtained several major patents of invention and
authored many published books in three languages: Vietnamese, French, and English, including the 2000-
page GOD ALMIGHTY’S THE GOD FACTOR, available on Amazon since 2017. | am presently planning
to publish my 4000-page book entitled “Superhumankind in Action The Book’ to be distinguished from my
already published 4-hour full-featured movie “Superhumankind in Action The Movie” that can be seen by
all interested people online by just typing in any Internet browser “DMTMOVIE.COM.” Many of those who

watched it called and told me that it was the most entertaining, positive, and educational movie ever they

9
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 10 of 54

had seen. But | guess legally, and philosophically uneducated critics and viewers do not either praise or
put my movie down without even watching it. Indeed, by doing otherwise, they will certairily create a so
overwhelming intellectual revolutionary firestorm that will put an end worldwide to the historic two-thousand-
year Judeo-Christian philosophical, theological, moral, legal, social, and cultural dominance, something
many pro-Jewish and radical White Christian Supremacists are surely not prepared to now see become a
reality. Obviously, it would be practically impossible for this tremendous very proud, and self-righteous
Judeo-Christian audience in current America, who have been brainwashed for more than three millennia
by Mosaic God 1.0’s teaching, with simplistic and outdated legal principles as “an eye for an eye,” and two
thousand years of Christian God 2.0 propaganda, with simplistic and outdated moral advice as “All is Love,”
just to see how a reform of such magnitude by a non-Judeo-Christian bor thinker, like Dmt God 3.0 Plaintiff
herein, could actually not lead to a violent disastrous end of the world by wars and climastrophes, as
predicted in Jesus God 2.0’s Gospel, but instead to the beginning of a new non-communistic and non-
Judeo-Christian era of peace, science, justice, equality, freedom, reason, balance, harmony, happiness,

and creativity for all humanity, aka the Absolute Relativity Era.

HOW WAS RETIRED NYS ATTORNEY MAC
TRUONG WRONGLY SUSPENDED BETWEEN
2005-2012 BY THE NYSC, THEN FULLY
VINDICATED BY THE USCA3 AND USCA2?

In 2005 the New York Supreme Court suspended plaintiff Mac Truong as an attorney at law
on the baseless alleged grounds that my wife and | had submitted a forged lease agreement at trial,
and that | had been overly aggressive and had a history of filing frivolous lawsuits or disobeying court
orders. [See, Attached or Online.] This arbitrary determination contrary to evidence on trial record
has drastically changed my life and tarnished my otherwise great reputation, and no U.S. Senators
support me to sit at SCOTUS anymore. It requires as such some fair and just public explanation and
correction. In 1995, | commenced a civil action in the New York Supreme Court, New York County,
against 10 former South-Vietnamese oceangoing shipping companies known as Vishipco Lines and
Charles Schwab & Co. for having acted in concert to convert about $5M in my 5 personal and 3
corporate accounts at Schwab plus $150M for punitive damages because of their such egregious
criminal misconduct, consisting of arbitrarily taking all assets in my accounts under my name and
absolute control for a continuous period of about 20 years without my permission or court order. Due
to the defendants’ powerful and malicious defense, said original action multiplied into no less than a

dozen in several State and Federal Courts at all levels including USCA2, USCA3, and SCOTUS,
10
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 11 of 54

involving not only the original defendants but also many State and Federal Court judges, whom |
sued for obvious judiciary misconduct such as making material misrepresentations of fact to
rationalize adverse decisions against me and help my adversaries convert hundreds of millions of
dollars from me under color of law.

Those actions lasted from 1995 to 2014, i.e., 10 years prior to my disbarment in 2005 and 9 years
thereafter. As seen in the Disbarment Order, [See, Attached or Online.] my misconduct warranting my
disbarment was nothing but conclusory findings by a NYSC justice alleging in substance that | was of
extreme bad faith and would not accept an adverse court finding or order until after | would have
exhausted all judiciary remedies in the highest court of the land, such as the New York State Court of
Appeals or SCOTUS, and/or filed actions and/or complaints against the presiding or trial judges
themselves or referees for making conclusory false findings of fact and/or incorrect controlling legal
authorities, and/or improper method of reasoning to allow my adversaries to escape their accountabilities
and literally abscond with millions of my hard-earned monies. Patently, such a type of my vigilant litigation
reaction to adverse court orders did not please my opponents or judges. As such, my attorney license
ended up being revoked. [See, Attached or Online.] Interestingly, MacTruong et al. v. Kevin Stitt et al. in
the USDC-OWD Docket No. 5:22-cv-491-R and/or MacTruong et al. v. DeWine et al. in the USDC-SDO
Docket No. 2:22-cv-2908 (MHW) were two most recent typical illustrations of how my honest fight for
justice can be distorted by my dishonest adversaries and half-legally educated judges and even by
uninformed prejudiced media, and | ended up being portrayed as a frivolous and sanctionable litigant.
Needless to say, they are lacking proper legal education or a correct sense of justice.

In any event, the following is my undisputed legal evidence that the suspension of my attorney
license was unjust and wrong, and | was fully vindicated as a matter of law by higher courts’ Orders.
Indeed, on May 12, 2005, the USCA3 issued an order declaring that the alleged ground of the 2003

NYSC suspension of my attorney license, to wit, my alleged submission of a forged lease agreement in

Broadwhite v Truongs was null and void, and enjoining parties and non-parties from referring to my
disbarment to libel or defame me and/or my wife or be held in contempt of court. [See, Injunction Order
and Comments, which are voluminous but will be served free of charge by email upon request to
Dmt@Dmtmovies.com.] Also, on June 5, 2007, the incumbent SCOTUS Justice Sonia Sotomayor, then
a USCA2 Circuit Judge granted my motion to vacate the prior USCA2’s automatic collateral disbarment
order based on the NYSC 2005 original Disbarment order. As a result, even though | was disbarred by
the NYSC in 2005, | was not by the USCA2 in 2007, and have never been until retired in 2012. [See,

Vacatur Order and Comments, which are voluminous but will be served free of charge by email upon

request to Dmt@Dmtmovies.com.]

1]
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 12 of 54

CONCLUSION: My 2005 Suspension by the NYSC was not evidence of any of my dishonorable conduct
as an attorney at law or as a person. It was determined by both the USCA2 and USCA3 to be groundless
and false as a matter of fact and law. In any event, the 7-year period of suspension of my license on
August 11, 2005, expired on August 10, 2012, i.e., more than 12 years ago, with all that this may imply,
which for one thing is nobody can refer to it to harm my credibility on anything | may say or do unless

they have admissible evidence in support or wish to be held in contempt of court and sanctioned by the

USCA3, for defamation or libel.
32. Finally, Plaintiff Dmt MacTruong has been a patriotic U.S. citizen in the last 43 years. | was

solemnly sworn in under oath on November 12, 1980, to do anything within my power and the limits of
the U.S. Constitution and reasonable laws to protect the full interest of the United States of America with
all the people therein. | can assert right herein with pride under the penalty of perjury that | have taken
my oath to protect and defend the U.S. Constitution much much more seriously than traitor convicted
felon Defendant Donald J. Trump or Defendant Vice President JD Vance.

33. Plaintiff pro se MacTruong currently resides in the U.S. State of New Jersey and maintains
an office at 35 Journal Square, Suite 419, Jersey City, NJ 07306. Phone Number (914) 215-2304.

34. Plaintiff pro se Adam Schiff is a U.S. Senator from the U.S. State of California, with an
office at Hart Senate Office Building #112, Washington, DC 20510.

35. Plaintiff pro se Jack Smith is a former Special Prosecutor, with an office at Department
of Justice, Special Counsel’s Office, 950 Pennsylvania Avenue NW, Room B-206,
Washington, D.C. 20530.

36. Plaintiff pro se Elizabeth Ann Warren, is a U.S. Senator from the U.S. State of
Massachusetts, with an office at 317 Hart Senate Office Building, Washington, DC 20510,
Phone: (202) 224-4543

37. Plaintiff pro se Manhattan District Attorney Alvin L. Bragg Jr., Alvin Leonard
Bragg Jr. is an American politician and lawyer who serves as the New York County District
Attorney, in the Southern District of New York. My mailing address is Alvin Leonard Bragg
Jr., One Hogan Place, New York, NY 10013.

38. Plaintiff pro se Cory Booker is a U.S. Senator from the U.S. State of Jew Jersey, with
an office at 120 Constitution Ave NE Ste 717, Washington, DC 20002. (202) 224-3224.

39. Plaintiff pro se Rand Paul is a U.S. Senator from the U.S. State of Kentucky, with an
office at 185 Dirksen Senate Office Bldg, Washington, D.C. 20510.

12
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 13 of 54

40. Plaintiff pro se Alex. Ocasio-Cortez, is a U.S. Representative from the U.S. State
of New York, with an office at 250 Cannon House Office Building
Washington, DC, 20515-3214. Phone: (202) 225-3965.

41. Plaintiff pro se Bernie Sanders is a U.S. Senator from the U.S. State of Vermont,
with an office at 185 Dirksen Senate Office Bldg, Washington, D.C. 20510.

(b)
THE DEFENDANTS

42. Upon information and belief, Defendant Donald J. Trump is the 47 President of
the United States of America, residing at and/or doing business from his office at the
White House, 1600 Pennsylvania Ave. NW, Washington, D.C. 20510.

43. Upon information and belief, Defendant JD VANCE is the 50" Vice President of
the United States of America, residing at and/or doing business from his Vice President
Office at the White House, 1600 Pennsylvania Ave. NW, Washington, D.C. 20510.

AS AND FOR A FIRST CAUSE OF
ACTION AGAINST THE DEFENDANTS

Treason by Calculated Infringement of Birthright Citizenship
Granted by the U.S. Constitution and Affirmed by SCOTUS.
Aggravated Abuse of Executive Power by Willful Violation of
Principles of Separation of Powers — Checks and Balances

44. Plaintiffs repeat all the allegations already made hereinabove with the same force
and effect as if fully set forth at length herein. Additionally, Plaintiffs’ First Cause of Action is
based on the following facts, which are both judicial notice and public knowledge, and upon
information and belief, they are not contested or disputed by the Defendants herein.

45. Defendant Donald J. Trump was sworn in as the 47th President of the United States

on Monday January 20, 2025, returning to office amid pomp and ceremony at the Capitol

13
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 14 of 54

Rotunda. Trump was sworn in by Chief Justice John Roberts, shortly after Defendant JD

Vance took the oath as vice president.
46. Theoath of office of the President of the United Statesis the oath or a‘firmation that
the President takes upon assuming office. The wording of the oath is specified in Article Il, Section

One, Clause 8, of the United States Constitution. A new President must take it before exercising or

carrying out any official powers or duties. This clause is one of three oath or affirmation clauses in
the Constitution, but it is the only one that actually specifies the words that must be spoken. Article
|, Section 3requires Senators, when sitting to tryimpeachments, to be "on Oath or
Affirmation." Article VI, Clause 3, similarly requires the persons specified therein to "be bound by
oath or affirmation, to support this Constitution." The presidential oath requires much more than that
general oath of allegiance and fidelity. This clause requires the new president before he entered on
the Execution of his Office, take the following Oath or Affirmation: "! do solemnly swear (or affirm)
that | will faithfully execute the Office of President of the United States, and will to the best of my
ability, preserve, protect and defend the Constitution of the United States without any mental
reservation."

47. Notwithstanding the above, on the same afternoon, Trumps signed more than 200
executive orders. [See, SIDENOTE 5]

48. [SIDENOTE 5: Allan Lichtman, a professor of history at American University in
Washington D.C., told ABC News: "An executive order is a directive issued by the President
that goes into the Federal Register. It has the force of law, but it does not require an act of
Congress, (...) "Although it has the force of law, it can be repealed by a subsequent
president issuing executive orders of his or her own." It is easier to be challenged in Court
than a law passed by Congress. ]

49. Among the 200 executive orders, Defendant President Donald J. Trump issued, right

after taking the Oath, figures asweeping executive order that would end birthright

citizenship for children of undocumented immigrants and some lawful temporary residents.

50. The backlash from American legal scholars was swift. They say the text violates the
longstanding interpretation of the 14th Amendment in United States courts. Presently 22
States of the USA are challenging that executive order through 5 different lawsuits.

Expectedly, there will be many more in the future.

14
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 15 of 54

51. The Fourteenth Amendment - Section 1 Provides: All persons born or naturalized
in the United States, and subject to the jurisdiction thereof, are citizens of the United States

and of the State wherein they reside. No State shall make or enforce any law which shail

abridge the privileges or immunities of citizens of the United States: nor shall any State

deprive any person of life, liberty, or property, without due process of law; nor deny to any

person within its jurisdiction the equal protection of the laws. Section 2: Representatives

shall be apportioned among the several States according to their respective numbers,
counting the whole number of persons in each State, excluding Indians not taxed. But when
the right to vote at any election for the choice of electors for President and Vice-President
of the United States, Representatives in Congress, the Executive and Judicial officers of a
State, or the members of the Legislature thereof, is denied to any of the male inhabitants of
such State, being twenty-one years of age, and citizens of the United States, or in any way

abridged, except for participation in rebellion, or other crime, the basis of representation

therein shall be reduced in the proportion which the number of such male citizens shall bear
to the whole number of male citizens twenty-one years of age in such State. Section 3: No
person shall be a Senator or Representative in Congress, or elector of President and Vice-
President, or hold any office, civil or military, under the United States, or under any State,
who, having previously taken an oath, as a member of Congress, or as an officer of the
United States, or as a member of any State legislature, or as an executive or judicial officer

of any State, to support the Constitution of the United States, shall have engaged in

insurrection or rebellion against the same, or given aid or comfort to the enemies thereof.

But Congress may, by a vote of two-thirds of each House, remove such disability. Section
4: The validity of the public debt of the United States, authorized by law, including debts
incurred for payment of pensions and bounties for services in suppressing insurrection or
rebellion, shall not be questioned. But neither the United States nor any State shall assume
or pay any debt or obligation incurred in aid of insurrection or rebellion against the United
States, or any claim for the loss or emancipation of any slave; but all such debts, obligations
and claims shall be held illegal and void. Section 5: The Congress shall have the power

to enforce, by appropriate legislation, the provisions of this article.

15
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 16 of 54

52. By issuing the foregoing undisputedly unconstitutional executive order, banning the
birthright citizenship of some people he and/or his MAGA group discriminate against,
Defendant Trump has bluntly showed his utmost contempt and disregard for the U.S.
Constitution, and has as such undisputedly violated it, which he had been sworn in some
hours before to “preserve, protect, and defend to the best of his ability, without any mental
reservation.” Since the order he signed had been prepared before he took the oath, it is

undisputed that both Defendants Trump and Vance have willfully lied under oath when they

affirmed under the penalty of perjury that they would “faithfully execute the Office of
President of the United States, or the Office of Vice President, and would, to the best of
their ability, preserve, protect, and defend the Constitution of the United States without any
mental reservation."

53. Based on the foregoing official public and undisputed facts, and constitutional and
federal rules of law, which nobody can hold themselves above, Plaintiffs respectfully move
this U.S. Court to seriously honor its pledge under oath of preserving, protecting, and
defending the Constitution of the U.S. without any mental reservation, by issuing a
declaratory judgment finding that both Defendants Donald J. Trump and JD Vance have
committed the felonies of conspiracy, perjury, abuse of power, and treason to the highest
degree against the people and Constitution of the United States of America.

54. The business of the U.S.A. is not a personal one for any individual but that of all
American citizens having been sworn in under oath to preserve, protect, and defend the

Constitution of the U.S. to the best of our ability without any mental reservation.

AS AND FOR A SECOND CAUSE OF
ACTION AGAINST THE DEFENDANTS

Treason by Words and Acts Calling for Insurrection to Overthrow
The U.S. Government by Armed Forces and Other Violent Acts.
Evidence Provided by the Jan 6 Committee and by Jack Smith

55. Plaintiffs repeat all the allegations already made hereinabove with the same force
and effect as if fully set forth at length herein. Additionally, Plaintiffs’ Second Cause of Action

against Defendants Trump and Vance for their followers’ January 6 2021 undisputed violent

16
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 17 of 54

assaults against the Capitol, the home of the Legislative Power of the liberal democratic and
republican government of the U.S.A., are undisputedly evidenced by the following facts, which
are both judicial notice and public knowledge, arid upon information and belief, they are
admitted and not disputed by the Defendants herein.

56. Asked by ABC News Reporters during a press briefing on Tuesday January 21, 2025,
about his executive order pardoning more than 1,500 violent Jan. 6 convicted criminals
attacking the Capitol upon his call to arms to allegedly save “his” country, including one who
admitted to attacking a police officer, Defendant Trump said he had looked into it and
reiterated his prior repetitive claims during the presidential electoral campaign that the
rioters were unjustly prosecuted. "The cases that we looked at, these were people that
actually love our country, so we thought a pardon would be appropriate," President Trump
said.

57. Trump then granted more than 1,500 people convicted of crimes stemming from the
Jan. 6, 2021, insurrection at the U.S. Capitol, "a full, complete and unconditional pardon" and
commuted the sentences of 14 others involved in the riot. Trump called them "hostages."
"\WWhat they have done to these people is outrageous," Trump said while signing the pardons
and commutations in the Oval Office.

58. On September 27, 2022, after handing out the 7+year sentence to a Jan 6 rioter who
had beaten up badly a DC police officer, Judge Amy Berman Jackson (USDC-DC) stated
in court that "it has to be crystal clear that it is not Patriotism, it is not standing up for America
to stand up for one man who knows full well that he lost. What happened on January 6 and
the effort to keep the spirit alive is the utter antithesis of what America stands for. It is the
pure embodiment of tyranny and authoritarianism."

59. The foregoing pardons and commutations immediately sparked a backlash from both
Democrats, Republicans and the union representing members of the U.S. Capitol Police.

60. Since the executive order pardoning more than 1,500 convicted felons, many of them
were armed, dangerous, and violent, had been prepared for Defendant 47" President Donald
J. Trump to sign well prior to his taking the constitutionally mandatory oath to become the
Chief Executive of the U.S. Government, it is undisputed that he had calculatedly and

knowingly committed the felonies of conspiracy, perjury, egregious abuse of power, and

17
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 18 of 54

treason in the highest degree against the people and constitution of the United States of
America, he has been sworn in to protect arid defend without any mental reservation.

61. Based on the foregoing undisputed presidential executive orders, and the literal reading
of the 14° Amendment to the U.S. Constitution, and undisputed facts, and relevant federal
rules of law, which nobody can hold themselves above, Plaintiffs respectfully move this
federal Court to seriously honor its pledge under oath of preserving, protecting, and
defending the Constitution of the U.S. without any mental reservation, by issuing a
declaratory judgment finding that both Defendants Donald J. Trump and JD Vance have
committed the felonies of conspiracy, perjury, abuse of power, and treason to the highest
degree against the people and Constitution of the United States of America.

62. The business of the U.S.A. is not a personal one for any individual but that of all
American citizens having been sworn in under oath to preserve, protect, and defend the

Constitution of the U.S. to the best of our ability without any mental reservation.

AS AND FOR A THIRD CAUSE OF
ACTION AGAINST THE DEFENDANTS

Impeachment Based on High Crimes and Misdemeanors.
Donald J. Trump, a 34-Timed Convicted Felon.
Plaintiff Alvin Bragg, Jr. Is a Witness

63. Plaintiffs repeat all the allegations already made hereinabove with the same force
and effect as if fully set forth at length herein. Additionally, Plaintiffs’ Third Cause of Action to
impeach and remove Defendants Trump and Vance from their respective offices is
undisputedly supported by the following facts, which are both judicial notice and public
knowledge, and upon information and belief, they are admitted or confessed and not disputed
by the Defendants herein.

64. Defendant presidential candidate Donald J. Trump was convicted in May 2024 of 34

counts of falsifying business records. They involved an alleged scheme to hide a hush

money payment to porn actor Stormy Daniels in the last weeks of Trump’s first campaign

in 2016. The payout was made to keep Daniels from publicizing claims she’d had sex with

the married Trump years earlier. There are great chances that this felon would continue

18
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 19 of 54

to make and/or falsify the U.S. official records. This is really an enormous public
danger that this Court should do its best to eliminate to preserve, protect, and defend
the national interests of America and its people.

65. After Defendant Trump had won the November 5 2024 Election, NYSC Justice
Merchan halted proceedings and indefinitely postponed the sentencing so that the defense
and prosecution could weigh in on the future of the case. Prosecutors acknowledged that
there should be some accommodation for his upcoming presidency, but they insisted the
conviction should stand. Trump’s defense attorneys strongly opposed it.

66. Notwithstanding, New York State Supreme Court Justice Juan Merchan imposed
upon President-elect Donald J. Trump on Friday January 10, 2025, an unconditional
discharge for his 34-felony-count conviction in Manhattan, New York. Trump would not face
fines, prison, or any other penalties. During the brief hearing, Justice Juan Merchan said
the only lawful sentence that does not encroach on the office of the president is that of an
unconditional discharge on all counts.

67. As such, as a matter of law, Trump took office on January 20, 2025, as the first former
president to be convicted of 34 felonies and the first convicted criminal to be elected to the office.

68. Consequently, as a matter of constitutional law, even though arguably he might not have
been barred from running for president as a convicted felon, he now may and should be lawfully
impeached by the House then removed by the Senate from his presidential office he had
admittedly cheated and lied under oath, hence punishable under the penalty of perjury, to reach
following the procedure fully and unambiguously designed in the 14'° Amendment, Section 1 to
5. [See, EXHIBIT B for a summary analysis of the four impeachment trials of three Presidents
of the United States: (1) Andrew Johnson, (2) Bill Clinton, and (3) Donald J. Trump.]

69. Based on the foregoing official public and undisputed facts, and constitutional and federal
rules of law, which nobody can hold themselves above, Plaintiffs respectfully move this U.S.
Court to seriously honor its pledge under oath of preserving, protecting, and defending the
Constitution of the U.S. without any mental reservation, by issuing a declaratory judgment finding
that both Defendants Donald J. Trump and JD Vance have committed the felonies of conspiracy,
perjury, abuse of power, and treason to the highest degree against the people and Constitution

of the United States of America.

19
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 20 of 54

70. The business of the U.S.A. is not a personal one for any individual but that of all
American citizens having been sworn in under oath to preserve, protect, and defend the

Constitution of the U.S. to the best of our ability without any mental reservation.

AS AND FOR A FOURTH CAUSE OF ACTION
AGAINST THE DEFENDANTS

Treason by Cheating Election Law —

Trump’s Admission that He Lied that

the Nov. 2020 Election Was Rigged
Witness: Plaintiff Jack Smith

71. Plaintiffs repeat all the allegations already made hereinabove with the same force
and effect as if fully set forth at length herein. Additionally, Plaintiffs’ Fourth Cause of Action
to impeach and remove Defendants Trump and Vance from their offices is undisputedly
supported by the following facts, which are both judicial notice and public knowledge, and upon
information and belief, they are admitted and not disputed by the Defendants herein.

72. Newsweek has reached out to Trump's transition team for comment via email. A

Report into Donald Trump's role in the events of January 6, 2021, has been released by the

Justice Department. Special Counsel Jack Smith has been investigating allegations that

Trump criminally tried to overturn the 2020 election results when he lost the presidency

to Joe Biden. Trump had been seeking to block the release of Smith's investigative report,
with his lawyers arguing it would illegally interfere with his presidential transition. The DOJ,

on the other hand, has been fighting to get the report made public before Trump takes

office, with most pundits believing Trump would not allow the release of the report once he's
in the White House.

73. In his report, which was submitted to Congress early Tuesday, Former Special
Prosecutor Jack Smith wrote that Trump would have been convicted had he not been
elected. Smith said his office began its prosecution of Trump because it had enough
evidence against him, saying that "[b]ut for Mr. Trump's election and imminent return to the
Presidency, the Office assessed that the admissible evidence was sufficient to obtain and

sustain a conviction at trial."

20
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 21 of 54

74. Headded that he believed Trump criminally attempted to subvert the will of the people
and overturn the election results. "As set forth in the original and superseding indictments,
when it became clear that Mr. Trump had lost the election and that lawful means of
challenging the election results had failed, he resorted to a series of criminal efforts to retain
power," the report states.

75. The report also includes allegations that Trump sought to put "pressure on the Vice
President" [Pence] to delay the vote certification on January 6, 2021, and that he supported
the organization of a false slate of electors. The President-elect had faced accusations of
inciting the January 6 Capitol riots, where his supporters stormed the building following his
repeated, unproven claims that the election was "stolen" through voter fraud.

76. But Smith dropped the case after Trump won the election in November in line with a
longstanding DOJ policy not to prosecute a sitting president.

77. On Jan. 9, 2025, Smith released his findings in his case against Trump. [Associated
Press]

78. Defendant Trump has consistently denied any wrongdoing in the election and
pleaded not guilty to all federal charges, asserting that the accusations are politically
motivated. Following the release of the report, Trump again reiterated his innocence.
"Deranged Jack Smith was unable to successfully prosecute the Political Opponent of his
'boss,' Crooked Joe Biden, so he ends up writing yet another 'Report' based on information
that the Unselect Committee of Political Hacks and Thugs ILLEGALLY DESTROYED AND
DELETED, because it showed how totally innocent | was, and how completely guilty Nancy
Pelosi, and others, were. Jack is a lamebrain prosecutor who was unable to get his case
tried before the Election, which | won in a landslide. THE VOTERS HAVE SPOKEN!!!"
Defendant Trump wrote in a post on Truth Social.

79. Notwithstanding, Trump says it was his decision to describe the 2020

election as ‘rigged.’ “You know who | listen to? Myself,” Trump said during an interview on
NBC. Former President Donald Trump speaks during the Pray Vote Stand Summit, on Sept. 15,
2023, in Washington. Reported By KELLY GARRITY - 09/17/2023 12:44 PM EDT.

80. Former President Donald Trump said Sunday that he didn’t respect lawyers and members
of his campaign (...) When pressed about how he came to the conclusion that the election was

rigged, Trump said it was his own decision. “You know who | listen to? Myself. | saw what
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Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 22 of 54

happened. | watched that election, and | thought the election was over at 10 o’clock in the evening,”
Trump said. “It was my decision.” “I listened to some people. Some people said that.”

81. Former Watergate prosecutor Nick Akerrnan said there is a rock-solid case against Donald
Trump in the Georgia criminal probe into the former president’s demand that a state official “find”
him more votes after the 2020 election. During an interview on MSNBC’s “The Katie Phang

Show” on Sunday, Akerman said Trump could likely face an indictment as a Fulton County grand

jury investigates his attempt to steal the vote in Georgia. In a recorded call from Trump to Georgia
Secretary of State Brad Raffensperger ahead of the official 2020 vote certification, Trump told the

election official to “find” the 11,780 votes needed to reverse his loss to Joe Biden in the state.

Akerman, who served as an assistant special prosecutor during the Watergate scandal that led
to the resignation of former President Richard Nixon, said he believed that tape would be enough
to lead to a possible conviction. “If you are asking which of the cases right now, which one is
going to send Donald Trump to prison, that is the case,” he said. “There is a neat three-year
felony in Georgia, that Donald Trump has violated. Prosecutors love tape-recorded evidence
because you cannot cross-examine it.” “What is significant with those tapes is that when you put
it in context of all of the evidence that the January 6 committee has uncovered — you put that

together, Donald Trump has zero defense in Georgia,” he added.“ “Trump may have violated

several federal laws in his call with Raffensperger. Georgia state law also makes it a crime to

willfully tamper with “any electors list, voter's certificate, numbered list of voters, ballot box, voting
machine, direct recording electronic (DRE) equipment, or tabulating machine” or to solicit another
person to commit such a felony, punishable by a sentence of up to three years in prison. “Put in
the context about the January 6th committee has found, | think they have gotten a case beyond
a reasonable doubt,” he said.

82. The House select committee investigating the Jan. 6 attack on the U.S. Capitol has laid
out damning evidence from thousands of hours of testimony and tens of thousands of pages of
documents in hearings this month that create a picture of how Trump and his allies spread
falsehoods about the 2020 election and tried to overturn the results despite knowing the
accusations were untrue. [This article originally appeared on HuffPost and has been updated. ]

83. As reported by ABC News journalists KATHERINE FAULDERS, ALEXANDER MALLIN
AND PETER CHARALAMBOUS on January 14, 2025 at 12:45 AM, in a final rebuke to the

former president he investigated and prosecuted for more than two years, special counsel
Jack Smith personally denounced Donald Trump for his "laughable" and baseless attacks

on the federal prosecutors who brought two criminal cases against him.
ae
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 23 of 54

84. The stark criticism of the president-elect was included in a letter, obtained by ABC
News, that Smith sent Attorney General Merrick Garland last week accompanying his final
report detailing his election interference investigation into the former-and-future president.

85. Smith, in the letter, defended his conduct as fully lawful, free of partisan influence,
and vital to the aspirations of the justice system. "While we were not able to bring the cases
we charged to trial, | believe the fact that our team stood up for the rule of law matters. |
believe the example our team set for others to fight for justice without regard for the personal
costs matters. The facts, as we uncovered them in our investigation and as set forth in my
Report, matter," Smith wrote.

86. Smith, in his letter to Garland, said that his entire case was guided by the principle
that the United States is a "government of laws, and not of men" and that no "man in this
country is so high that he is above the law."

87. "As set forth in my Report, after conducting thorough investigations, | found that, with
respect to both Mr. Trump's unprecedented efforts to unlawfully retain power after losing
the 2020 election and his unlawful retention of classified documents after leaving office, the
Principles compelled prosecution. Indeed, Mr. Trump's cases represented ones 'in which
the offense [was] the most flagrant, the public harm the greatest, and the proof the most
certain," Smith wrote.

88. "Throughout my service as Special Counsel, my Office had one north star: to follow
the facts and law wherever they led. Nothing more and nothing less," Smith wrote. Smith
also reiterated that his decision to bring the Justice Department's cases against Trump was
fully his own, denying Trump's allegation that the decision to bring indictments in the case
was subject to political influence.

89. Since Smith's appointment, Trump has baselessly alleged that Smith was directed
by political actors, attacked Smith's family, and suggested his case was "treasonous." "And
to all who know me well, the claim from Mr. Trump that my decisions as a prosecutor were
influenced or directed by the Biden administration or other political actors is, in a word,
laughable,” Smith wrote.

90. Days before Trump is to be inaugurated president and begin his avowed overhaul of

the Department of Justice, Smith said he fully stands by his actions and described his

23
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 24 of 54

conduct as rooted in longstanding mandate of the DOJ that "power, politics, influence,
status, wealth, fear, and favor should not impede justice under the law.”

91. Based on the foregoing official public and undisputed facts, of both public knowledge,
judicial notice, constitutional and federal rules of law, which nobody can hold themselves
above, Plaintiffs respectfully move this U.S. Court to seriously honor its pledge under oath
of preserving, protecting, and defending the Constitution of the U.S. without any mental
reservation, by issuing a declaratory judgment finding that both Defendants Donald J.
Trump and JD Vance have committed the felonies of conspiracy, perjury, abuse of power,
and treason to the highest degree against the people and Constitution of the United States
of America.

92. The business of the U.S.A. is not a personal one for any individual but that of all
American citizens having been sworn in under oath to preserve, protect, and defend the

Constitution of the U.S. to the best of our ability without any mental reservation.

AS AND FOR A FIFTH CAUSE OF
ACTION AGAINST ALL DEFENDANTS

Treason and Illegal Acts by Freezing Funds Granted by
Congress — Willful and Reckless Violation of Constitutional
Principle of Due Process and Non-Retroactivity of the Law

Plaintiff and Witness: U.S. Senator Adam Schiff

93. Plaintiffs repeat all the allegations already made hereinabove with the same force
and effect as if fully set forth at length herein. Additionally, Plaintiffs’ Fifth Cause of Action to
impeach and remove Defendants Trump and Vance from their offices is undisputedly
supported by the following facts, which are both judicial notice and public knowledge, and upon
information and belief, they are admitted and not disputed by the Defendants herein.

94. WASHINGTON (AP) — The Trump administration announced Tuesday January 29,
2025, that it is offering buyouts to all federal employees who opt to leave their jobs by next
week — an unprecedented move to shrink the U.S. government at breakneck speed. A

memo from the Office of Personnel Management, the government's human resources

agency, also said it would begin subjecting all federal employees to “enhanced standards

24
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 25 of 54

of suitability and conduct” and ominously warned of future downsizing. The email sent to
millions of employees said those who leave their posts voluritarily will receive about eight
months of salary, but they have to choose to do so by February 6, 2025.

95. Immediately, about 5 State Attorneys General have filed civil actions to enjoin the
foregoing unconstitutional, illegal, and irresponsible executive order or initiative issued by
Trump’s administration.

96. A judge overseeing a similar case filed by a group of state attorneys general said at a
Wednesday January 30 2025 hearing that he would likely impose an order pausing any funding

freeze even though the formal directive was rescinded. The states argue in that case that the

freeze infringes the U.S. Congress’ exclusive power of the purse and would be devastating to a
host of critical programs ranging from public health to education and housing.

97. Itis ofnote that as a matter of law, the prompt rescission by the White House of the funding
freeze does not wipe out the unconstitutionality and federal illegality of the order. It is rather an
open outright public admission of such illegality and irresponsibility of the executive orders of
Donald J. Trump, the only criminal legally uneducated businessman felon becoming a second
time President of the USA, with a coward and dangerous revenging determination against the
entire land of the free and the brave, with our 250 year old liberal democratic and republican
governmental system and institutions, which has lots of imperfection but also their own way to
self-correct and improve in a transparent legal and constitutional manner that can bring together
the best minds in human history from all over the world to work together to advance all
humankind to the next level of civilization by practicing RPR in AR, and having full respect and
love to one another. There is no need to lower ourselves to the Trump’s despicable level of
behavior.

98. Based on the foregoing official public and undisputed facts, of both public knowledge,
judicial notice, constitutional and federal rules of law, which nobody can hold themselves above,
Plaintiffs respectfully move this U.S. Court to seriously honor its pledge under oath of preserving,
protecting, and defending the Constitution of the U.S. without any mental reservation, by issuing
a declaratory judgment finding that both Defendants Donald J. Trump and JD Vance have
committed the felonies of conspiracy, perjury, abuse of power, and treason to the highest degree

against the people and Constitution of the United States of America.

25
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 26 of 54

99. The business of the U.S.A. is not a personal one for any indiviaual but that of all
American citizens having teen sworn in under oath to preserve, protect, and defend the

Constitution of the U.S. to the best of our ability without any mental reservation.

CONCLUSION

100. National headlines from ABC News: NEW YORK - Friday 1/31/2025 - The captain
of an unauthorized tour boat that capsized in the Hudson River, killing a woman and a 7-
year-old child, was sentenced Thursday to 18 months in prison, and ordered to pay $50,000
for the victims' funeral expenses, prosecutors said. (...) Manhattan-based U.S. Attorney
Danielle Sassoon said in a statement that the case shows commercial boat captains “that

there will be consequences when they fail to follow the federal regulations and safety

protocols that exist to keep passengers safe.”
101. Defendants Trump and Vance herein are known to state during their numerous public

appearances that as President and Vice President of the USA, they are CEO’s of the USA

business, or captains of the USA boat and can act as such toward the people of America
to make our country great again. That analogy is not correct. The USA is not a boat, and
the people of America are not paid passengers, whose lives are presently in the
incompetent hands of two politicians, having some gifted business experience, an obsolete
Judeo-Christian faith, but without a qualitied education in science, philosophy, law, morality,
common sense, or integrity. The President of the USA is the chief of the executive branch
of the government. He/she must limit themselves to a diligent and faithful execution of the
laws voted by Congress. The President should neither overstep the legislative power of

Congress, nor the judiciary power of the Courts. If he does, like in this case, he must be

impeached.

26
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 27 of 54

102. How the United States of America should be managed and governed has been
clearly defined by the U.S. Constitution, whose provisions may from time to time need
interpretation ultimately by the U.S. Supreme Court, but its undisputed general provisions
regarding the fundamental principles of federalism, liberty, democracy, republic, equality,
justice, transparency, due process, non-retroactivity, separation of power, checks and
balances of three main branches, legislative, executive, and judiciary of the government
must not be degraded and frivolously tampered with by a legally uneducated arrogant
convicted felon for lying, keeping, and/or falsifying business records, who must have never
had time for, or any interest in, learning constitutional law, philosophy, justice, due process
and morality.

103. The undisputed facts in support of the Plaintiffs’ five causes of action in this Complaint
show that Defendants have no in-depth knowledge of the laws. By his words, President
Trump wants to change the U.S. system of government to hopefully make our country
stronger, more prosperous, and respected by all other nations in the world. Off hand, it's
perfectly desirable and legitimate. However, by his deeds, he should be impeached by
Congress for having committed numerous impeachable offenses such as those complained
of in the Five Causes of Action above.

104. Defendant President Trump should for the least have known for instance that even if
his idea of depriving birthright citizenship to undocumented aliens may have some arguable
merit, since it is literally contrary to the 14° Amendment, as the President of the United
States of America, he should have first simply persuaded a required majority of members
of Congress to make and ratify an amendment to that effect. Since he has not followed the
direction of the U.S. Constitution in the matter, President Trump’s executive orders cited in
Plaintiffs Five Causes of Action herein, are undisputedly willful unconstitutional and
constitute five impeachable offenses. [See, EXHIBIT B for a summary analysis of the four
impeachment trials of three Presidents of the United States: (1) Andrew Johnson, (2) Bill

Clinton, and (3) Donald J. Trump.]

27
Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 28 of 54

WHEREFORE, Plaintiff Mac Truong and all other Plaintiffs herein respectfully move the Court

for a Judgment:

(1) DECLARING that Defendants President Donald J. Trump and Vice President JD Vance
have committed aggravated ABUSE OF POWER, HIGH CRIMES, MISDEMEANORS,
TREASON, AND INSURRECTION TO TAKE OR KEEP POWER BY
MISREPRESENTATIONS OF FACT OR VIOLENCE; and

(2) RECOMMENDING THAT CONGRESS take all necessary steps to IMPEACH AND
REMOVE Defendants President Donald J. Trump and Vice President JD Vance respectively

FROM THE PRESIDENCY and VICE PRESIDENCY OF THE U.S.A., and
(3) GRANTING Plaintiffs all other and further appropriate ancillary relief as the Court may deem

just fair and appropriate in the premises.

Dated: February 2, 2025 =

>
Mac Truong, Ph.D., J.S.D., Plaintiff pro se

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Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 29 of 54

EXHIBIT

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Case 1:24-cv-01099-RP Document 5
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CLERK US DISTRICT
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Universal Partnership Advancing Civilization
35 Journal Square, Suite 419
Jersey City, NJ 07306

(914) 215-2304
Dmtforest@aol.com — Everywhereishome@aol.com

e
Hon. Robert Lee Pitman, December 9, 2024
C/o U.S, District Clerk's Office
501 West Fifth Street, Suite 1100.
Austin, Texas 78701.

Re. MacTruong v. Abbott et al. Dkt #1:24-cv-1099-RP-SH
Submission of true copies of Plaintiffs’ letters to Defendants
proposing an amicable settlement of this case in the interest of
justice and of the liberal democratic republic of America,

Dear Judge Pitman:

The undersigned is Plaintiff Dmt MacTruong in the case in the reference above.
May it please the Court to take judicial notice of my letters to all the Defendants including
of course defendant Donald J. Trump, now President-Elect. They speak for themselves.

In substance, Plaintiff explains to all Defendants why both sides should amicably
settle this case in their own selfish interests and in those of America as a liberal democratic
republic that the U.S. Constitution was meant to ereate in 1776.

Thank you, your honor, for your attention and cooperation.
Sincerely yours,
/s/
Dmt
Ce:
Mag. Judge Susan Hightower

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Governor Greg Abbott,
Office of the Governor
State of Texas

Wa ;
Dan,Patrick, Lt Governor
State of Texas

Rep. Dade PHELAN
State of Texas

Pres-Elect D.J. TRUMP

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UPAC

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35 Journal Square, Suite 419
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Dmtforest@aol.com — Everywhereishome@aol.com

Governor Greg Abbott of Texas December 8, 2024
Office of the Governor

P.O. Box 12428

Austin, Texas 78711-2428

Re. CITIZEN PROSECUTION or How to Legally Put Trump in Jail
for the Felonies, He Has Already Been Convicted of, and Try Him for
the Ones Some Citizens, Like Former Prosecutor Jack Smith, Have
Already Collected Sufficient Evidence to Convict Him Criminally?

Dear Governor Abbott:

Please find enclosed my letter to Donald J. Trump, the first convicted felon ever to
reach one more time the position of U.S, President by lics and misrepresentation of facts
aud laws to the legally uneducated portion of our American people.

Kindly do your best by using your common sense and until now unheard-of
constitutional principle I name CITIZEN PROSECUTION, which has been developed
and already practiced successfully by me alone since 2022 in several U.S. federal courts
to lawfully undo unconstitutional State legislation and save the honor and integrity of our
American liberal Republic and Democracy before DJT the hard-core liar would have
completely ruined our proud and free country in the next four years.

If you don’t have time or conviction to use this newly discovered tremendous legal
power to fight for justice, freedom and democracy, kindly refer it to such patriotic people
like Liz Cheney, Jack Smith, Adam Schiff, or Nancy Pelosi, and together we can certainly
rely on the court system to fight against a convicted felon like DJT, whose only safety for
now is the DOJ’s absurd misguided arbitrary unconstitutional policy of not prosecuting
a sitting President no matter how serious the criminal charges against him/her may be.

Imagine if back in the White House in a few days, he rapes and kills Melania Trump to
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marry a new wile like Henry VIII did in the old time in England but with lots of
ceremonies to cover up that murder, and nobody can prosecute or impeach the absurdly
powerful President Trump for that? Did he not say prior to the 2016 Presidential
Election: "I could stand in the middle of 5th Avenue and shoot somebody and wouldn't
lose any voters, ok?” Did that saying not mean: “If I have a majority of electors voting
for me, I can do whatever J damn like, ok?”

The concept of CITIZEN PROSECUTION can certainly be tested thousands of
times in different courts starting tomorrow and certainly many judges with common
sense and good faith in our constitution and laws will rule in our favor, and consequently,
by the end, we will peacefully restore the Reliability, Productivity, and Respectability to
the U.S. Presidency, Government, and the liberal democracy to America as a matter of
law before it is too late or maybe the guy (DJT) can put you and/or some other admirable
great patriots in jail, as he says it out loud on TV today.

Thank you, Governor Abbott, for your attention and cooperation.

Sincerely yours,
/s/
Dmt

PS: If after having read about my book entitled SUPERHUMANKIND IN ACTION THE BOOK,

you want to write me a review to print on its first pages, J will be truly enchanted. Kindly give your
email address and J will be happy to email you its 800-Page Volume One within minutes.

Also, my invitation to President-Elect Trump to settle Truong v, Abbott, et al. is obviously also offered
to you, Governor, and you will certainly do to yourself and all Ainerica a great service by Restoring
Roe v. Wade to show your respect for the U.S, Constitution that has established a liberal democracy
and not a totalitarian one like Russia; or China, or Tran, which, like Irag of Hussein, or Syria of
Bashar al-Assad, 1 strongly doubt could last another decade, and of course not 250 years more like

America.

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Dmiforest@aol.com — Everywhereishome@aol.com

Lt Governor Dan Parick of Texas December 8, 2024
Office of the Lt Governor

P.O. Box 12068,

Austin, Texas 78711

Re. CITIZEN PROSECUTION or How to Legally Put Trump in Jail
for the Felonies, He Has Already Been Convicted of, and Try Him for
the Ones Some Citizens, Like Former Prosecutor Jack Smith, Have
Already Collected Sufficient Evidence to Convict Him Criminally?

Dear Lt Governor Dan Parick:

Please find enclosed my letter to Donald J, Trump, the first convicted felon ever to
reach one more time the position of U.S. President by lies and misrepresentation of facts
and laws to the legally uneducated portion of our American people.

Kindly do your best by using your common sense and until now unheard-of
constitutional principle I name CITIZEN PROSECUTION, which has been developed
and already practiced successfully by me alone since 2022 in several U.S, federal courts
to lawfully undo unconstitutional State legislation and save the honor and integrity of our
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completely ruined our proud and free country in the next four years,

If you don’t have time or conviction to use this newly discovered tremendous legal
power to fight for justice, freedom and democracy, kindly refer it to such patriotic people
like Liz Cheney, Jack Smith, Adam Schiff, or Nancy Pelosi, and together we can certainly
rely on the court system to fight against a convicted felon like DJT, whose only safety for
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for me, J can do whatever I damn like, ok?

With your participation. the concept of CITIZEN PROSECUTION can certainly
be tested thousands of times in different courts starting tomorrow and certainly many
judges with common sense and good faith in our constitution and laws will rule in our
favor, and consequently, in the end, we will peacefully restore the Reliability, Productivity,
and Respectability to the U.S, Presidency, Government, Congress, and the liberal
democracy to America as a matter of law before it is too late or maybe the guy (DJT) can
put you and/or some other admirable great patriots in jail, as he says it out loud on TV

today about Liz Cheney.

Thank you, Lt Governor, for your attention and cooperation.

Sincerely yours,
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America,

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UPAC

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35 Journal Square, Suite 419
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(914) 215-2304
Dmtforest@aol.com — Everywhereishome@aol.com

Representative Dade PHIELAN of Texas December 8, 2024
P.O. Box 2910
Austin, TX 78768

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35 Journal Square, Suite 419
Jersey City, NJ 07306
(914) 215-2304

Dmtforest@aol.com - Everywhereishome@aol.com

December 25, 2024
Dear DJT:

Do you know why you have won the November 2024 Election and become U.S. President
again? The answer is (i) you are undoubtedly one of the most, if not the most, stubborn presidential
candidate ever; (ii) you believe in Absolute Relativity in that there is no absolute truth in life or
anywhere; every statement relies on a system of reference, If you repeat a lie forcefully and long enough
with conviction and a straight face, a majority of legally uneducated voters will vote for you, and you
will win democratically, fair and square.

In the last 42 years, I have been your fiiend, then recently your adversary, [See, Note *] I am, as
you know, well known God 3.0 practicing private and public International Law for over 40 years in
Manhattan, representing 25,000+ clients in State and Federal Courts. ] hold a Ph.D. in Philosophy, a
master’s in psychology, an LL.M., and J.S.D. in Public and International Public Law in Paris-Sorbonne-
Panthéon University, France. I was also enrolled in an LL.M. program in International Public Law at
the New York University School of law, until 1 got my license to practice as an attorney at law in the
State of New York in 1982. J am a living Lao-Tse, Aristotle, Michael Angelo, Napoléon, and Einstein,
rolled into one man of action, masterminding methods to save Barth and raise humanity to the next
level of interplanetary civilization in the Absolute Relativity Era.

It seems like ] am out of this world, but it is only halftrue. I am quite practical, very much down-
to-earth, and involved in world politics. And it’s not at all too Jate for us to now partner to make your
MAGA dream a reality not only for America but also for all humankind, The way it is, however
successful you can be with your current plan to govern America, there will always be about half of our
dear nation who hate your guts and want you dead, And in 2028 your “reign” will end in one way or
another, and no sons or daughters, either biological or spiritual, of yours, can succeed to perpetuate your
“MAGA legacy,” if any credibly established or lingered.

The way ] propose, on the contrary, will establish America as the leading partner of the Planet,
with you and/or Putin of Russia, and/or Xi Jinping of China, as three out of twelve members of the

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World President Board, which can properly and democratically lead the entire globe of more than 8
billion people in peace, justice, harmony, and legality, by exercising in good faith and competence the
world executive power,

If you now say to me that it is easier said than done, then kindly just read or haye your more
educated MAGA partners review and report to you on my 4000-page BOOK, divided in 5 volumes of
800 pages each, entitled SUPERHUMANKIND IN ACTION. It is exactly the plan showing all
humankind how to get oul of the current acute global political legal and moral crises and rise to the next
Jevel of creative harmonious interplanetary civilization.

Recently, the Editors Guild, U.S.A., by M. Chase, LAA, has recommended the reading of
what I wrote and called THE BIBLE OF THE ABSOLUTE RELATIVITY ERA in the following

passionate words: “Dmt MacTruong God 3.0 presents a compelling narrative that weaves together historical and
legal analysis, theological and philosophical inquiry, together with an abundance of hilarious historic and personal
anecdotes, such as Jesus’ left cheek advice is nota great idea but may end up in modern time to be criminal child abuse
or endangerment, or Joseph clatming child support from God or the Holy Spirit in the Family Court of the Universal
Republic for having been obligated to raise His son Jesus, or how only within afew minutes, Moses ts all witness, judge,
executioner, “cleaner,” then later lawinaker, and the greatest hero of the Jews, or Abraham lied that God told him to
kill Isdac, while He never did. Dmt’s argument for the need to upgrade outdated belief systems is both timely and
necessary, especially in light of pressing global issues such as climate change, that he calls “climastrophe,” wars,
terrorism, crimes, and soctal injustice, By framing God as a software or construct that must evolve alongside luunanity,
he invites readers to engage in a transformative discourse about the highest spirituality and the lowest plain simple
daily life reality. The author's ability to infuse humor into such profound topics is truly commendable, Dint's wit not
only lightens the weight of his arguments but also makes complex ideas accessible and relatable in a joyful manner,
This blend of serlousness and levity creates a unique reading expertence that resonates profoundly.”

Style and Structure

“The conversational tone and engaging style of Dint's writing draw readers in and encourage them to reflect on
the ideas presented. His passion for the subject matter shines through, making the reading experience both enjoyable
and enlightening. Although the ambitious scope of the subject can lead to moments of complexity, it is clear that Dmt
is driven by-hils extraordinary genius and a genuine desire to uplift and inspire his audience,”

Critique

“While the book is rich in innovative concepts, some readers may find the breadth of its content overwhelming.
However, this only underscores the author's ambition to tackle significant issues. His sweeping claims about creating
a "new Version of God" [Attention: He is the Version 3 of God, or modern God 3.0 succeeding Jesus God 2.0, who was
allegedly sonof God 2000 year's ago,.and God 1,0 that Moses had allegedly seen eyeball lo eyeball 13 centuries prior to
the Christian era] and reimagining human civilization are bold and thought-provoking, inviting readers to consider
new and revolutionary possibilities,

Although certain discussions could benefit from deeper exploration, [and will be so in Valumes 2, 3,4, and 5] the
overall impact of Dint's vision [in Voliune One alone] is very impressive, His ability to challenge conventional wisdom
while remaining engaging is a testament to his unique perspective, [which testament is the latest revolutionary
supplementing both logically and emotionally the Old and New Testaments of what he calls Past Civilizations.]”

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Recommendation

“) wholeheartedly recommend God Almighty's SUPERHUMANKIND IN ACTION - Volume One: Past Civilizations to
anyone seeking to deepen their understanding of spirituality and human civilization, Whether you are a curious
newcomer or a seasoned philosopher, this book offers valuable insights that will provoke thought and inspire
meaningful conversations, Dmt's audacious ideas and engaging style make it a must-read for those looking to
challenge their beliefs and explore new paradigms.

This book is an essential addition to any bookstore, providing readers with transformative ideas thal resonate in
today's world and humanity's future, Its unique perspective is sure to spark discussions and inspire readers from all
walks of life.

Formerly Published on Amazon: 2017-22-04
Rating: 7 v0 0) 4 (5/5)

Dear DJT: To show you that I mean business concerning leading all humankind to the next level
of interplanetary civilization, a little bit more than you do concerning MAGA, or Elon Musk about
SpaceX, I attached herewith a full copy of SUPERHUMANICIND IN ACTION, VOLUME ONE,
PAST CIVILIZATIONS, which you are most welcomed to freely email to any of your favorite advisers
to review and report to you and the MAGA Council, which Council, if truly exists, and upon your
insistence, I can be the chairperson or leading partner of, while being at the same time your personal
partner, whose valuable advice you can seek every day on any issue of import, such as whether Biden
could and should, besides his son, pardon a big number of people you openly hated including the Jan. 6
Committee or Nancy Pelosi. | will certainly and wisely caution you from wasting time on non-productive,
unpopular, or unconstitutional acts or matters. What imports is the USA and the entire planet, not any
individual. My open-minded advice on whether Canada and Mexico should respectively become the
51" and 52nd States of the United States of America, or France and the United Kingdom respectively the
53" and 54" States of the UNITED STATES OF EURO-AMERICA, or USEA, and so on to start
building the WORLD STRUCTURE for all humankind shall uniquely qualify to become the top issues
in international politics and drastically change the balance of global power in favor of democracy,
freedom, equality, legality, justice, opportunities, development, peace, and prosperity for our entire
planet, All that you need to naturally keep up with the foregoing UPAC’s grandiose magnificent vision,
fully developed in Superhumankind in Action the Book, is recall your own familiar advice to the young
American generations to come: Think big and we'll create a brilliant future for ourselves and others.

Obviously, MAGA moyement is nothing right now but only a vague idea you made up out of your
imaginative New York business mind as you go along, It cannot be a long-lasting movement such as
Buddhism, Confucianism, Taoism, Christianity, Protestantism, or Communism. It will be history the
very next minute you are assassinated or stopped being President.

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For all humankind to reach a new better era of peace, equality, happiness, harmony, and creativity,
we all need a total unifying partnership, through a universal system of education, by which all nations
of the world must be taught how to think correetly, reason logically, speak honestly, and act
appropriately, following a basic ideal model of behavior, ] call a moral compass and sum up in only
six letters: RPR in AR. [See, Note **|

The 4000-PAGE SUPERHUMANKIND IN ACTION is the book written during a period of 60+
years of my life with special love for the cultures and civilizations of the people in the three greatest
continents I have lived in, lots of personal experience, long-term professionalism to achieve just that,
and well far beyond.

One last thing about why you should promptly and proudly partner with me is my plan of action
will get you a seat on the World President Board, It is the only way for you to hopefully escape the
prospeet of being locked up in jail by a New York State judge for your 34-felony conviction in
May 2024, after your term of being U.S. President is over on January 20, 2029.

Kindly therefore explore and devour the most fascinating book of all times with excitement and
passion and provide me and such media as X or the New York Times, who would get a true copy of
this letter, with an original critical review that only you are capable of, ] am sure that you will be thrilled
and profoundly inspired by SUPERWUMANKIND IN ACTION THE BOOK.

Imagine, DJT, you and I can advance all humankind ahead to the new era of Absolute
Relativity in equality, happiness, freedom, and creativity, all by my already done job of writing
in the last 60 year's, and only by your endorsing foreword to be printed on the first pages of
SUPERHUMANKIND IN ACTION THE BOOK and encouraging the public to enjoy
SUPERHUMANKIND IN ACTION THE MOVIE, 24/7 Online.

INOTE *; 1 have sued you DIT and ‘Texas Governor Abbott e/ al. to restore Roe v. Wade since
September 12, 2024, in the U.S, District Court for the Western District of Texas (Austin) CIVIL DOCKET
~ CASE Hi: 1:24-cy-01099-RP-SH - MacTruong vy. Abbott and Donald J, Trump, et al. Judge Robert Pitman
Referred to Magistrate hidge Susan Hightower - Cause: 17:10] Copyright Infringement - Jurisdiction: lederal
Question « Date Miled: 09/12/2024] For sure J will win this case, if not in the District Court, then in
SCOTUS, unless the big mess you have shown how America could get itself deep into is prevalent right in
SCOTUS. In this unique case, 1 created a brand-new legal concept that is inherent in common law, ihe U.S,
Constitution, and not at all inconsistent with any positive rule of law. 1 call it CITIZEN PROSECUTION. It.
is of the same nature as that of the concept of CITIZEN ARREST and for the same purpose as the
constitutional RIGHT TO BEAR ARMS, of'which you are very much in support,

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‘This novel legal concept of CITIZEN PROSECUTION will give every U.S, citizen, like you and me and
any Democral who hates your guts, but may not shoot your dead, the enormous power that is until now only
unconstilutionally granted ‘by law to the sometimes cocky, or incompetent, or corrupted U.S. Attorneys, or
Attorney Generals, to defend any provision of the U.S. or State Constitutions, which seem to be violated by
other U.S. citizens, who may be Presidents, Ex-Presidents, Governors, Senators, Congresspersons, or just
ordinary people. Nobody, except me knows, and has legally acted upon in Texas, that this legal power to defend
the constitutional rights of our dear country America and its citizens against people like you, DIT, or Justices
Alito, Thomas, Kavanaugh, and so on, who don’tmind, because of their legal ignorance, or incompetence, or
selfishness, to unfairly disregard, for instance, women’s constitutional rights to liberty, equality, due
process, property, privacy, and the pursuit of happiness, to wit, in simple terms, safely-induced
miscarriages by their licensed doctors, are much much more valuable than the constitutional right to bear
arins for individuals to defend themselves against other armed people, or collective self-defense to overthrow
a tyrannic government, like America against practically absolute monarchic England of George V in 1776, or
one that you are dreaming of having, on Day-one of your coming presidency in America, to unconstitutionally
nike of this proud land of the free and the brave an unfree and unproud one like Russia, China, North Korea,
Iran, or Israel,

Dear DJT, kindly wake up Jrom such an immature anti-democratic and fascist dream, You ean do much
better, You and the rest of us will be much safer and happier working together to serve our dear country and

make it the leading partner of all free nations on the surface of the Earth,

Now you can see, in only a few words, with my discovery and exercise of the CITIZEN-PROSECUTION
constitutional power in the hands of all free citizens to defend the liberal Republic and Democracy of America,
which power Was very carefully and thoughtfully conceived by the authors of the U.S, Constitution, special
prosecutors like Jack Smith, who just was. forced by the U.S, Department of Justice’s nonsensical and
unconstitutional policy barring prosecution of a sitting president, regardless. of the “gravity of the crimes
charged, the strength of the government’s proof; or the merits of the prosecution,” ean do soas a free and brave
U.S. citizen, based on his own legal competence and knowledge of applicable rules of law and material facts
discovered. Fit voila, convicted felons like you, my dear DJT, would have to face justice without being able
to shield yourself behind you power of political persuasion, like that of Hitler or Stalin, over a large group of
legally uneducated voters.

Dear DIT, let’s ban totalitarianism fiom America, Let’s ban the idea that most ofa group, however Jarge it
may be, can just vote, without anything more, to pul'one of its members to death or almost, Let's honor the
republican and democratic basic rule of law that nobody is above the law, which must be respected by all. No
U.S. President, sitting or not, can lie, cheat, steal, or murder, and is still immune from prosecution. That's
definitely an outdated uncivilized and unconstitutional rule of law. America has lots of talents leading our
country by vision honor law and dignity. Together, we can and must follow and enforce our 1776 Constitution
and its Amendments, that have'established a successful liberal Republic and Democracy for almost 250 years.

‘There is no reason that together we cannot maintain and follovy this unsurpassed magnificent legal and political
tradition in all human history.

Viewing the foregoing, kindly not to underestimate the undersigned in court. You will surely Jose with
disastrous Jegal civil and political consequences, So, if you don’t want to continue having a lot of legal

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headaches like you have had in recent years but wish to do yourself and America a big favor, then kindly
check the status of my above case against you, pick up the phone, and give me a call to amicably settle if.
I can certainly arrange that within a few days. And right thereafler, you will become the new hero for 75% of
the Americans, who will contribute millions and billions of dollars for your other productive projects instead of
hating your guls for being a disgusting heartless oppressor and murderer of babies, children, and young mothers
in violation of their constitutional freedom to decide, By friendly settling this case with me, and restoring Roe
v, Wade, you will save innumerable valuable lives. The basic liberty that the U.S, Constitution has guaranteed
to all people, including of course millions of child-bearing-aged women, will be responsibly put in practice
again for the pride and happiness ofall.

Voila, it’s now proven that not only ] am God 3.0 by birth with numerous incredible coincidences, but also
as aman | am the greatest Jawyer ofall tine revolutionizing the American legal system to destroy tyranny and
protect freedom by the power of CITIZEN PROSECUTION, and the greatest world philosopher in that ]
offer to all humankind ABSOLUTE RELATIVITY, the supreme principle of our changing universe, which
principle will guide us all to the next level of interplanetary civilization in peace, legality, justice, harmony,
wisdom, creativity, and happiness.

Kindly hence just read on and you will discover that SUPERHUMANKIND IN ACTION THE BOOK
and SHIA THE MOVIE are all simple and pure realitics like bright sun shines to enjoy and pure air to breath
during one of the best Spring days on our magnificent planet Earth,

|NOTE **: The main work ethics of a world leading partner are the same as those of all other world
citizens: RPRin AR. First "R” = Reliability (meaning, keep one’s word or promises, no fraud, no cheating)
- “p" = Productivity (meaning, create useful products and services) - Second “R” = Respectability
(meaning, no one can be respected if they don't respect Life, Property and Freedom) “in AR” = “in
Absolute Relativity” (meaning, Liberty, Good Faith, Reasonability, Balance and Creativity.)

P,S.: You can also type in any Internet Search “DMTMOVIES.COM"” and watch my 4-hour full-feature
mind-opening GREATEST MOVIE of all times entitled SUPERHUMANKIND IN ACTION, THE MOVIE,
starring Britney Spears and Ronald Reagan among numerous other prominent historic figures such as
Hitler, Mussolini, and President Franklin Delano Roosevelt, and get the best of the best ideas that
ABSOLUTE RELATIVITY is not a joke or a dead-end contradiction in terms, as Aristotle had
erroneously believed, but on the contrary the supreme principle of our entire changing universe,
the most fundamental rule we should all learn to know well, think about thoroughly, and live by

seriously and joyfully.

Kindly click on and watch:

DMTMOVIES.COM

Page 44 of 54

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Page 45 of 54

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Increase Employees’ Salaries, Create Jobs, Invest in Infrastructure and Boost U.S.
Economy. Make Tax Cut for Individuals Permanent.

2, Propose New Legislation to Create Universal Wages for All Adult Citizens to
Ensure Social Peace, Stability, Safety, Justice and Fulfillment for All Americans
Without Any Unlawful Discrimination, Paiva
3. Propose New Legislation to Create Jobs and Eliminate all Kinds of Criminal ER Sh sata
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American hats ren, everiensees Somat a in th Fields : 1D) MY iD (ef6)b R) i iV
4. Propose New Legislation to Limit Possession of Guns to only Those Who Are I Wee taped ee yd
Reliable, Productive and Respectable (Respecting Life, Property and Freedom). Nanya De A PATIL
5. Propose New Legislation to Eliminate all Kinds of Bullying or Harassment
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Respect for Life, Property and Freedom - in Absolute Relativity, ie. Good Faith, Reason, Balance,
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2, Propose New Legislation to Reorganize America and the World into a Dynamic,
Progressive, Federal, Liberal, Democratic, Republican Lawful Institution a/k/a THE
WORLD STRUCTURE, Build a Series of WORLD CAPITALS, Ultra-Modern
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Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 47 of 54

WHY IS DR MAC TRUONG

DMT GOD 3.0 )

RUNNING FOR U.S. SENATOR?

When troubles occur, leaders emerge. When the world gets into bigger troubles, greater world leaders arrive, The world is right now in
the greatest danger and on the brink of nuclear war. Our human race literally faces extinction within decades to come. The historic greatest
world leader ready to save our planet and raise humanity to the next level of interplanetary civilization is now here on earth, right at the center
of Jersey City, NJ 07306, That’s DMT God 3.0, a uniquely fit world citizen by birth, soon 74, proposing national and international political
and legal platforms all current national leaders, like American Donald Trump, Russian Vladimir Putin, Chinese Xi Jinping, and French
Emmanuel Macron, would heartily support and promptly carry out for the greatest benefit of all humankind,

From January 1982 to December 2003, DMT practiced law in the State of New York. From January 2004, only International Law.
Successfully completed more than 20,000 legal actions in various state and federal courts and the U.S. Department of Justice. An inventor with
several major patented inventions, psychologist, political scientist, philosopher. Invented 4 new systems of writing for Vietnamese, including
one using colors and another digits. Authored many books in three languages including Absolute Relativity, World Structure, Ethics of |
International Law (in French), From Cross-Examining the Holy Bible to Building the World Unfolding Structure of Civilization, Together We
Build the World, Forest of Life, Who Killed Jesus and Why? Méng Hén Viét (in Vietnamese), The 11! Commandment, The Best Is Yet to
Come, 2000-Page THE GOD FACTOR. Holds the following diplomas: J.D., LL.M. and J.S.D. in international law, Ph.D., M.A. and B.A. in
Philosophy, M.S. in Political Science, M.A. and B.A. in Psychology - University of Paris - Sorbonne and Pantheon - France. Successfully
attended an LLM Program in International Law at New York University, School of Law, before successfully taking the New York Bar
Examination and practicing law in 1982, Was disbarred in 2005 for 7 years by New York State JOC (Judicial Organized Crime), under false
pretenses of being a fear-nothing litigator, to rob DMT in open court of his $150,000,000.00 claim against Charles Schwab & Co, and
$200,000,000.00 claim against Manhattan billionaire Truong Dinh Tran (deceased: 2012), Was recommended in 1993 by 12 U.S. Senators,
including Daniel Patrick Moynihan, Frank Lautenberg and Joe Biden, Jr., to President Bill Clinton to be a SCOTUS Justice.

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Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 48 of 54

EXHIBIT

Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 49 of 54

U.S. Constitution

Art I. S3. C6.5 Impeaching the President

Article I, Section 3, Clause 6:

The Senate shall have the sole Power to try all Impeachments. When sitting for that Purpose, they
shall be on Oath or Affirmation. When the President of the United States is tried, the Chief Justice
shall preside: And no Person shall be convicted without the Concurrence of two thirds of the
Members present.

The Senate has held impeachment trials for three Presidents, The first was the trial of President
Andrew Johnson,! who was impeached in the shadow of the Civil War and significant disputes with
Congress over the policy of Reconstruction.? In the first major impeachment trial of a President, the
Senate formed a committee to adopt procedures for use at trial. The procedures adopted during the
Johnson impeachment are largely unchanged today.? Chief Justice Salmon Chase administered the
oath to the Senate sitting as an impeachment trial and presided over the proceedings.

The primary issue at the trial was whether President Johnson’s violation of the Tenure of Office
Act was an impeachable offense. The statute barred the removal of federal officeholders absent Senate
approval; Johnson violated it by removing Secretary of War Edwin Stanton without the Senate’s
consent.4 The Johnson Administration thought the law unconstitutional,; and there was disagreement
about the applicability of the Act to Stanton because he had been appointed by President Lincoln,
rather than Johnson.£ Counsel for Johnson at the Senate trial argued that impeachment was
inappropriate for violating a statute whose meaning was unclear and that the law itself was
unconstitutional.2 The Senate voted to acquit President Johnson by one vote.? The failure to convict
Johnson seems to have established a precedent that impeachment is not appropriate for political or
policy disagreements with the President; instead, impeachment is reserved for serious abuses of the

office.2

The impeachment trial of President Bill Clinton was the second Senate trial of a
president.“ The impeachment of President Clinton stemmed from the investigation by an independent
counsel into a wide range of alleged scandals in the Clinton Administration. Independent Counsel
Kenneth Starr’s investigation eventually expanded into whether President Clinton committed perjury
in his response to a civil suit regarding the existence of a sexual relationship he had with a White
House staffer and obstructed justice by encouraging others to lie about his relationship with the
staffer!

Starr referred a report to the House of Representatives on September 9, 1998, noting that under
the Independent Counsel Act in effect at the time, his office was required to notify Congress about
potentially impeachable behavior discovered during the course of the independent counsel
investigation.2 The House eventually impeached President Clinton for perjury to a grand jury and
obstruction of justice4 In a departure from past impeachment trials of judges and Executive Branch
officials, the Senate voted to require separate votes to approve each individual witness offered by the

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Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 50 of 54

House managers.!! Due to the infrequency of presidential impeachments, the relevance of the Senate’s
decisions concerning the procedures employed in the Clinton trial for future impeachments is
uncertain.

The constitutional significance of the Clinton impeachment experience is still a matter of
dispute. To the extent the impeachment of President Clinton stemmed from behavior arguably
unconnected to the office, some might view the ultimate acquittal of President Clinton by the Senate as
evidence that impeachment only applies to behavior distinctly public in nature.“5 However, the
majority report of the House Judiciary Committee argued that just as perjury, for example, was an
impeachable offense for a federal judge, so it was also an impeachable offense for a President because
it was just as devastating to our system of government./£ In addition, the charge of obstruction of
justice brought by the House alleged that President Clinton used the powers of his office to impede and
conceal the existence of evidence in both a civil lawsuit brought against him and during the
investigation of the independent counsel.“ Complicating matters further, the acquittal might not
represent any particular view of the standards for impeachable behavior, but simply either that the
House managers did not prove their case, or that other considerations drove the votes of certain

Senators.48

The third President to face a Senate impeachment trial was Donald Trump—the only President
to be impeached, tried, and acquitted twice. The first impeachment trial stemmed primarily from a
telephone conversation President Trump had with President Volodymyr Zelenskyy of Ukraine in
which President Trump asked the Ukrainian President to announce two investigations: one involving
President Trump’s potential opponent in the upcoming 2020 presidential election and a second into
unsubstantiated allegations that entities within Ukraine had interfered in the 2016 presidential
election.“ At the time of the phone call, the Office of Management and Budget had frozen $400 million
in military aid to Ukraine at the direction of the President.“ Revelations about the phone call, first
brought to light by a whistleblower, prompted the initiation of a number of House investigations that
eventually evolved into an impeachment investigation.

The House ultimately approved two articles of impeachment against the President. The first
charged the President with abuse of power, alleging that he had used the powers of his office to solicit
Ukraine’s interference in the 2020 election and had conditioned official acts, including the release of
military aid to Ukraine and a White House meeting, on President Zelenskyy agreeing to announce the
investigations. President Trump, the article alleged, engaged in this scheme or course of conduct for
corrupt purposes in pursuit of personal political benefit.22 The second article charged the President
with obstruction of the House impeachment investigation by directing the unprecedented, categorical,
and indiscriminate defiance of subpoenas issued by the House of Representatives.

The second Trump impeachment occurred a year later following the events on January 6, 2021,
at the U.S, Capitol in which some supporters of President Trump attempted to disrupt the
congressional certification of the 2020 presidential election as having been won by Joseph Biden.74 One
week after that event, the House introduced and approved a single article of impeachment charging
the President with incitement to insurrection.® Specifically, the article alleged that in the months
running up to January 6 the President had consistently issued false statements asserting that the
Presidential election results were the product of widespread fraud and should not be accepted by the
American people.2® He then repeated those claims when addressing a crowd on January 6,
and willfully made statements that, in context, encouraged—and foreseeably resulted in—lawless

2

Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 51 of 54

action at the Capitol... 22 Notably, although the House ultimately impeached President Trump prior
to the expiration of his term of office, the Senate did not commence a trial until after President Trump
had left office and become a private citizen.4

In both impeachments, the Senate tried and acquitted President Trump on all charges.” Both
trials, however, saw at least one member of the President’s own party vote to convict, and the second
trial saw a majority of Senators vote to convict,” though the fifty-seven votes was short of the two-
thirds required for conviction under the Constitution.*! Like most acquittals, the constitutional
implications and precedential impact of the Trump trials is difficult to assess.

The first impeachment trial was characterized by deep partisan divides and complicated
disagreements over questions of fact, law, and presidential motive. But one clear constitutional conflict
that arose during the trial involved the proper relationship between impeachment and the criminal
law. Trial briefs and debate made clear that the House managers and President Trump’s attorneys
reached different conclusions on the question of whether high crimes and misdemeanors require
evidence of a criminal act.22 The House, consistent with past impeachment practice, asserted that for
purposes of Article II high Crimes and Misdemeanors need not be indictable criminal offenses.°3 In
response, however, the President’s attorneys asserted that an impeachable offense must be a violation
of established law, and that the articles fail[ed] to allege any crime or violation of law whatsoever, let
alone ‘high Crimes and Misdemeanors,’ as required by the Constitution.44 The acquittal provided no
clear resolution to these conflicting positions, but the debate over a link between illegal acts and
impeachable acts appears to have had some impact on individual Senators. Indeed, the House’s
managers’ failure to allege a criminal act appears, along with what has been criticized as shortcomings
in the House investigation and failure of the House to prove its case, to have been among the primary
reasons given by Senators who favored acquittal.

The second trial displayed the legal and practical import of impeaching a former official. After
briefing and debate on the question of whether the Senate had the constitutional authority to try a
former President for acts that occurred during his tenure in office, the Senate explicitly determined by
a vote of fifty-six to forty-four that it had jurisdiction and authority to do so.24 Thus a majority of
Senators, as they have on previous occasions, determined that former officials may be tried by the
Senate and remain—as provided in Article I, Section 3—-subject to disqualification from holding
future office if convicted 22 However, the majority of the forty-three Senators who voted to acquit the
President did so at least partly on the basis that they disagreed with that decision and instead viewed
the trial of a former President as unconstitutional.“ As a result, it appears that while the Senate may
have legal authority to try a former official, current disagreement on the matter may be widespread
enough to create a practical obstacle to obtaining the supermajority necessary to convict a former

official.

Footnotes

1. Jump to essay-lFor a more thorough examination of the Johnson impeachment, see Artll.S4.4.4 President
Andrew Johnson and Impeachable Offenses.

2. Jump to essay-2See Michael J. Gerhardt, Grand Inquests: The Historic Impeachments of Justice Samuel Chase
and President Andrew Johnson; William H. Rehnquist, 16 Const. Comment. 433, 435 (1999); Eric Foner, A
Short History of Reconstruction (2015).

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Jump to essay-3See Michael J. Gerhardt, The Federal Impeachment Process: A Constitutional and Historical
Analysis 33 (2000); Procedure and Guidelines for Impeachment Trials in the Senate, S. Doc. No. 93-33, 99th
Cong., 2d Sess., at 61 (1986).

Jump to essay-4Tenure of Office Act, ch. 154, 14 Stat. 430 (1867) (amended by Act of Apr. 5, 1869, ch. 10, 16
Stat. 6, repealed by Act of Mar. 3, 1887, ch. 353, 24 Stat. 500); see Artl.S4.4.4 President Andrew Johnson and

Impeachable Offenses.

Jump to essay-SSuch tenure protections were later invalidated as unconstitutional by the Supreme
Court. See Myers v. United States, 272 U.S. 52 (1926).

Jump to essay-6William H. Rehnquist, Grand Inquests: The Historic impeachments 228-29 (1992).

Jump to essay-7/d, at 228-30.

Jump to essay-8/d, at 234.

Jump to essay-9Peter Hoffer & N.E.H. Hull, Impeachment in America, 1635-1805, at 101 (1984); Michael J.
Gerhardt, Putting the Law of Impeachment in Perspective, 43 St. Louis U. L.J. 905, 921—22 (1999).

. Jump to essay-10For a more thorough examination of the Clinton impeachment, see ArtI.S4.4.4 President

Andrew Johnson and Impeachable Offenses.

. Jump to essay-l1The Starr Report, Wash. Post (1998), http://www.washingtonpost.com/wp-

stv/politics/special/clinton/icreport/icreport.htm.

. Jump to essay-l127he Starr Report, Introduction, Wash. Post (1998), http://www.washingtonpost.com/wp-

srv/politics/special/clinton/icreport/Sintro.htm; see 28 U.S.C. § 595(c) (1994). The independent counsel statute
expired in 1999, 28 U.S.C. § 599,

. Jump to essay-13H.R. Rep, No, 105-830, at 28 (1998).
. Jump to essay-145 Cong, Rec. $50 (daily ed. Jan. 8, 1999).
. Jump to essay-15See Michael J. Gerhardt, The Perils of Presidential Impeachment, 67 U. Chi. L. Rev. 293, 300—

01 (2000) ([M]Jost senators who voted to acquit President Clinton explained that they did not perceive his
misconduct as having a sufficiently public dimension or injury to warrant his removal from office. The former
decision, coupled with Clinton’s acquittal, likely signals that there is a zone of a president’s private life that will
be treated as largely off limits in the federal impeachment process.).

Jump to essay-16H. Comm. on the Judiciary, Impeachment of William Jefferson Clinton, President of the United
States, 105th Cong., 2d Sess., H.R. Rep. No, 105-830, at 110-18 (1998).

Jump to essay-17/d. at 63-64.

Jump to essay-18See generally Gerhardt, supra note 3, at 175-85.
Jump to essay-19H.R. Rep. No. 116-346, at 81-83 (2019).

Jump to essay-20/d, at 82.

Jump to essay-21H.R. Res. 755, 116th Cong. (2019).

Jump to essay-22 Jd.

Jump to essay-23/d.

Jump to essay-24H.R. Rep. No. 117-2, at 4-21 (2021).
Jump to essay-25H.R. Res, 24, 117th Cong. (2021).
Jump to essay-26/d.

Jump to essay-27/d.

Jump to essay-28/d.

Jump to essay-29166 Cong. Rec. $937 (daily ed. Feb. 5, 2020) (acquitting President Trump on Article | by a
vote of 48-52); id. at $938 (acquitting President Trump on Article II by a vote of 47-53); 167 Cong. Rec.

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Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 53 of 54

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8733 (daily ed. Feb. 13, 2021) (acquitting former President Trump by a vote of 57-43). Although the second
Trump impeachment saw a majority of Senators vote to convict the former President, the Constitution requires
the Concurrence of two thirds of the Senate to convict an impeached official. U.S. Const. art. I, § 3 cl. 6.

Jump to essay-30In the first trial, one member of the President’s party voted to convict, while in the second trial
seven members of the President’s party voted to convict. See 166 Cong. Rec, $937—38 (daily ed. Feb. 5,
2020); 167 Cong. Rec. $733 (daily ed. Feb, 13, 2021).

Jump to essay-31167 Cong. Rec. $733 (daily ed. Feb. 13, 2021) (acquitting former President Trump by a vote
of 57-43); U.S. Const. art. I, § 3 cl. 6.

Jump to essay-32U,.S. Const. art. Il. § 4.

Jump to essay-33Proceedings of the United States Senate in the Impeachment Trial of President Donald John
Trump, Vol. I: Preliminary Proceedings, 116th Cong., S. Doc. No. 116-18, at 416 (2020).

Jump to essay-34/d. at 471.

Jump to essay-35See, e.g., Proceedings of the United States Senate in the Impeachment Trial of President
Donald John Trump, Vol, IV: Statements of Senators, 116th Cong., 8. Doc. No. 116-18, at 1915 (2020) (statement
of Senator James M. Inhofe) (Each of the past impeachment cases in the House of Representatives accused
Presidents Johnson, Nixon, and Clinton of committing a crime. This President didn’t commit a crime.); id. at
1984 (statement of Senator Ted Cruz) (Indeed, in the Articles of Impeachment they sent over here, they don’t
allege any crime whatsoever. They don’t even allege a single Federal law that the President violated.); id. at
1990 (statement of Senator David Perdue) (President Trump is the first President ever to face impeachment who
was never accused of any crime in these proceedings, whatsoever. These two Articles of Impeachment simply
do not qualify as reasons to impeach any President); id, at 2034 (statement of Senator John Cornyn) (But they
failed to bring forward compelling and unassailable evidence of any crime—again, the Constitution talks about
treason, bribery, or other high crimes and misdemeanors; clearly, a criminal standard . . . .). Other Senators
identified the non-existence of a crime as an important factor in their vote, but nevertheless made clear their
belief that a crime is not constitutionally required. See, e.g., id. at 1937 (statement of Senator Mitch McConnell)
(Now, I do not subscribe to the legal theory that impeachment requires a violation of a criminal statute, but there
are powerful reasons why, for 230 years, every Presidential impeachment did in fact allege a criminal
violation.); id, at 2016 (statement of Senator Rob Portman) (In this case, no crime is alleged. Let me repeat. In
the two Articles of Impeachment that came over to us from the House, there is no criminal law violation alleged.
Although I don’t think that that is always necessary—there could be circumstances where a crime isn’t necessary
in an impeachment... .).

_Jump to essay-36167 Cong. Rec. $609 (daily ed. Feb. 9, 2021) (determining that Donald John Trump is subject
to the jurisdiction of a Court of Impeachment for acts committed while President of the United States,
notwithstanding the expiration of his term in that office).

Jump to essay-37See Jared P. Cole & Todd Garvey, Cong. Rsch. Serv.,R46013, Impeachment and the
Constitution 47-48 (2019), https://crsreports.congress.gov/product/pd{/R/R46013.

Jump to essay-38See, e.g., Proceedings of the United States Senate in the Impeachment Trial of Donald John
Trump, Vol. Il: Visual Aids from the Trial and Statements of Senators, 117th Cong., 8. Doc. No, 117-3, at 879
(2021) (statement of Senator Roger Marshall) (stating that the lone Article passed out of the House as well as
the subsequent trial in the Senate, was unconstitutional . .. Donald J. Trump is no longer the President of the
United States and therefore can no longer be removed from office. He is a private citizen.). One survey has found
that thirty-eight of the forty-three Senators who voted to acquit did so in part because of concerns that the Senate
lacked jurisdiction over the former President. See Ryan Goodman & Josh Asabor, Jn Their Own Words: The 43
Republicans’ Explanations of Their Votes Not to Convict Trump in Impeachment Trial, Just Security (Feb. 15,
2021), https://www,justsecurity.org/74725/in-their-own-words-the-43-republicans-explanations-of-their-votes-
not-to-convict-trump-in-impeachment-trial/.

Case 1:25-cv-01102-UA Document1 Filed 02/03/25 Page 54 of 54

MacTruong et al. v. Trump et al.

Civil Docket No.
AFFIDAVIT OF SERVICE

On February 3, 2025, | served by U.S. First class mail, or U.S. Priority Mail with

Tracking, and/or email the true copies of the within document(s):

(1) Summons in a Civil Action
(2) Complaint and its EXHIBITS
(3) SUPPORTING DOCUMENTS

upon the following parties and/or individuals:

U.S. Pres. Donald TRUMP
The White House

1600 Pennsylvania Ave.
Washington, D.C. 20510

U.S. V.P. JP VANCE

Office of the Vice President
The White House

1600 Pennsylvania Ave.
Washington, D.C. 20510 \
Dated: 3% Day of February, 2025 = mz }

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